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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Kiesque, Incorporated                         )
                                              )
v.                                            )        Case No. 18-cv-7761
                                              )
THE PARTNERSHIPS and                          )        Judge: Hon. Charles P. Kocoras
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A”                    )        Magistrate: Hon. Mary M. Rowland
                                              )
                                              )

                                       Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Kiesque Incorporated, voluntarily

dismiss any and all claims against defendants without prejudice:

 Doe   Store Name                            Merchant ID
 8     faimail                               faimail
 15    starkychina                           starkychina
 33    B2C Nail&Makeup Store                 2304092
 34    Baby Diary                            2185064
 41    Beautiful Nainen Store                1110720
 47    BeautyLadyNailArt Store               1924021
 55    Bonnie Nail Store                     2947177
 108   Lilycute Nail Art Store               2302014
 124   Mandala Nail Store                    2944156
 139   Nail Unique Store                     2671020
 149   Nail's House                          1879221
 184   Trendinail Store                      3250020
 185   Trendy Nail Art Store                 3103087
 188   UOCONO Store                          2799099
 191   V1 Nail Store                         3630048
 352   bestbidguy2009                        bestbidguy2009
 354   e-promarket                           e-promarket
 356   evenfantasy                           evenfantasy
 364   nailutopia                            nailutopia
 365   neofashionbase2010                    neofashionbase2010
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456   freeflying                     56b71b6c0dbb0b19255c94f9
482   jpcbakerylimited               53d6f8fb4497c57b78261b76
527   neejolie                       5b8917672eb51f17e93aa792
578   ursugar                        5b08b5d7139e01121c81a242
611   广州登宇贸易有限公司                     5548806d898e390f8ef5febd
612   广州陆顺电子科技有限公司                   557f89877e83271c1607fa46
613   广州陆顺电子科技有限公司帐号5                559cf822d9018e40586b18e2


Dated: March 17, 2019
                                      Respectfully submitted,


                                      By:     s/David Gulbransen/
                                             David Gulbransen
                                             Attorney of Record

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